  Case: 4:16-cv-01440-HEA Doc. #: 16 Filed: 01/30/17 Page: 1 of 7 PageID #: 94




                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI
                           EASTERN DIVISION


TEDDY SCOTT AND MELANIE SCOTT, )
                                 )
                                 )
                     Plaintiffs, )
                                 )
v.                               ) Case No. 4:16CV1440HEA
                                 )
DYNO NOBEL, INC.,                )
                                 )
                     Defendant. )

                 OPINION, MEMORANDUM AND ORDER

      This matter is before the Court on Defendant’s Motion to Dismiss Plaintiffs’

Second Amended Complaint, [Doc. #7.]. Plaintiffs have responded in opposition.

Defendant has filed a Reply. For the reasons set forth below, the Motion is

Granted.

                             Facts and Background

      This matter was commenced on September 9, 2016, by the filing of a

Complaint. Plaintiff alleges while working at a neighboring property, he was

exposed to harmful substances allegedly emitted from Dyno Nobel’s ammonium

nitrate manufacturing plant in Louisiana, Missouri. He alleges the harmful

substances were discharged from the smokestack of Dyno Nobel. As direct and

proximate result of this conduct, he sustained serious and permanent personal
  Case: 4:16-cv-01440-HEA Doc. #: 16 Filed: 01/30/17 Page: 2 of 7 PageID #: 95




injuries. Melanie Scott alleges loss of consortium resulting from these serious and

permanent injuries sustained by her husband Teddy Scott.

      In Count I, Plaintiff Teddy Scott alleges that Defendant had a duty to

manage and operate its manufacturing facility in a reasonable manner and in a

manner so as to avoid discharge of highly toxic substances from its smokestacks

when it was foreseeable that the discharge of those substances could drift into the

working environment of workers at the Calumet facility. Plaintiff further alleges

that defendant breached its duty and as a direct and proximate cause Plaintiff was

damaged. In Count III Plaintiff alleges that Defendant should be held strictly

liable for the personal and emotional injuries of Plaintiff. It is further alleged that

Plaintiff sustained serious, permanent and debilitating injuries resulting from the

highly hazardous and toxic chemicals and substances from the Defendant’s

manufacturing facility. Counts II and IV are alleged Loss of Consortium claims

prosecuted by Melanie Scott, in her capacity as the spouse of Plaintiff Teddy Scott.

      The Complaint alleges: Plaintiff was working for Ardent on property of

Calumet. This property was adjacent to Defendant property. Scott was an

electrical foreman for and an employee of Ardent. Calumet Lubricants Co.

(“Calumet”) owned and operated a synthetic lubricants manufacturing facility

located at the property where Plaintiff Scott was working. While he was working

at that location, there was a sudden and unexpected discharge of a reddish-looking


                                           -2-
  Case: 4:16-cv-01440-HEA Doc. #: 16 Filed: 01/30/17 Page: 3 of 7 PageID #: 96




cloud from the Dyno smokestacks. The discharge turned out to be nitric acid.

Plaintiff inhaled the nitric acid into his respiratory system and sustained serious

and permanent personal injuries. Melanie Scott alleges that due to Mr. Scott

experiencing these injuries, she lost the consortium and services of her husband.

                                      Standard

      Fed.R.Civ.P. 12(b)(6) provides for a motion to dismiss based on the “failure

to state a claim upon which relief can be granted.” To survive a motion to dismiss

a complaint must show “‘that the pleader is entitled to relief,’ in order to ‘give the

defendant fair notice of what the ... claim is and the grounds upon which it rests.’”

Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting Conley v.

Gibson, 355 U.S. 41, 47 (1957)). See also Erickson v. Pardus, 127 S.Ct. 2197,

2200 (2007). “Threadbare recitals of the elements of a cause of action, supported

by mere conclusory statements, do not suffice” to defeat a motion to dismiss.

Ashcroft v. Iqbal, 129 S.Ct. 1937, 1949 (2009) (citing Twombly, 550 U.S. at 555).

“[O]nly a complaint that states a plausible claim for relief survives a motion to

dismiss.” Id. at 1950 (citing Twombly, 550 U.S. at 556). The pleading standard of

Rule 8 “does not require ‘detailed factual allegations,’ but it demands more than an

unadorned, the-defendant-unlawfully-harmed-me accusation.” Id. at 1949 (quoting

Twombly, 550 U.S. at 555).

      Further, with regard to a Rule 12(b)(6) motion, the Supreme Court holds:


                                          -3-
  Case: 4:16-cv-01440-HEA Doc. #: 16 Filed: 01/30/17 Page: 4 of 7 PageID #: 97




             While a complaint attacked by a Rule 12(b)(6) motion to dismiss does
      not need detailed factual allegations, [citations omitted] a plaintiff's
      obligation to provide the “grounds” of his “entitle[ment] to relief” requires
      more than labels and conclusions, and a formulaic recitation of the elements
      of a cause of action will not do, see Papasan v. Allain, 478 U.S. 265, 286,
      106 S.Ct. 2932, 92 L.Ed.2d 209 (1986) (on a motion to dismiss, courts “are
      not bound to accept as true a legal conclusion couched as a factual
      allegation”). Factual allegations must be enough to raise a right to relief
      above the speculative level, see 5 C. Wright & A. Miller, Federal Practice
      and Procedure § 1216, pp. 235–236 (3d ed.2004) ... see, e.g., ... Neitzke v.
      Williams, 490 U.S. 319, 327, 109 S.Ct. 1827, 104 L.Ed.2d 338 (1989)
      (“Rule 12(b)(6) does not countenance ... dismissals based on a judge's
      disbelief of a complaint's factual allegations”); Scheuer v. Rhodes, 416 U.S.
      232, 236, 94 S.Ct. 1683, 40 L.Ed.2d 90 (1974) (a well-pleaded complaint
      may proceed even if it appears “that a recovery is very remote and
      unlikely”).

Twombly, 550 U.S. at 555–56. See also Gregory v. Dillard's, Inc., 565 F.3d 464,

473 (8th Cir.2009) (en banc) (“[A] plaintiff ‘must assert facts that affirmatively

and plausibly suggest that the pleader has the right he claims ..., rather than facts

that are merely consistent with such a right.’ ”) (quoting Stalley v. Catholic Health

Initiative, 509 F.3d 517, 521 (8th Cir.2007)).

      Additionally, “a well-pleaded complaint may proceed even if it strikes a

savvy judge that actual proof of those facts is improbable .” Twombly, 550 U.S. at

556 (citation omitted). “The issue is not whether plaintiff will ultimately prevail

but whether the claimant is entitled to offer evidence to support [its] claims.”

Scheuer v. Rhodes, 416 U.S. 232, 236 (1974).

                                         Discussion



                                          -4-
  Case: 4:16-cv-01440-HEA Doc. #: 16 Filed: 01/30/17 Page: 5 of 7 PageID #: 98




      In Count I of his complaint, Plaintiff alleges, in Paragraph 18, that

Defendant breached and violated its duty to manage and operate its ammonia

nitrate manufacturing facility in a reasonable manner, and was otherwise negligent

in the discharge on March 15, 2015. This assertion is a legal conclusion, not a

factual statement. Plaintiff has not alleged any facts consistent with the view of

Twombly and Iqbal. See Robbe, 98 F. Supp. 3d at 1034. (“[A] plaintiff ‘must

assert facts that affirmatively and plausibly suggest that the pleader has the right he

claims ..., rather than facts that are merely consistent with such a right.’ ”) (quoting

Stalley v. Catholic Health Initiative, 509 F.3d 517, 521 (8th Cir.2007)). For this

reason, Count I will be dismissed.

      Count II is the Loss of Consortium claim prosecuted by Melanie Scott, the

wife of Plaintiff Teddy Scott. Needless to say, this claim is derivative of Teddy

Scott’s negligence claim. Since his Negligence claim is deficient and fails, Count

II must necessarily be dismissed.

     Count III of Plaintiff‘s complaint sounds in Strict Liability. The Complaint

alleges that Teddy Scott was harmed “as a direct and proximate result” of Dyno

Nobel’s “acts and omissions of negligence.” He pleads in paragraph 23 that “[d]ue

to the highly dangerous nature of the manufacturing processes involving the highly

hazardous and toxic chemicals and substances at the Dyno manufacturing facility

in Louisiana, Missouri, Dyno is to be held strictly liable for the personal and


                                          -5-
  Case: 4:16-cv-01440-HEA Doc. #: 16 Filed: 01/30/17 Page: 6 of 7 PageID #: 99




emotional injuries sustained by Scott herein.” Defendant argues the deficiency of

the pleading on this count as a basis for dismissal.

       Missouri considers six factors to determine whether an activity is

abnormally dangerous: (1) the existence of a high degree of risk of harm; (2) the

likelihood that the harm will be great; (3) the inability to eliminate the risk by

exercise of reasonable care; (4) the extent to which the activity is not a matter of

common usage; (5) the inappropriateness of the activity to the place where it is

carried on; and (6) the extent to which its value to the community is outweighed by

its danger. Rychnovsky v. Cole, 119 SW 3d 204 (Mo. Ct. App. 2003); see also

Kirk v. Schaeffler Grp. United States, Inc, (W.D. Mo. Jul. 13, 2016). Here, the

pleading is devoid of any allegations regarding three of the six factors in the

abnormally dangerous test: (1) the extent to which the activity is not a matter of

common usage; (2) the inappropriateness of the activity to the place where it is

carried on; and (3) the extent to which its value to the community is outweighed by

its danger. Courts have dismissed claims that fail to properly allege one of the six

factors. See Wilson Road Development, 971 F. Supp. 2d at 917; see also

Rychnovsky v. Cole, 119 SW 3d 204, 211 (Mo. Ct. App. 2003). Plaintiff here has

failed to sufficiently allege three factors. In addition, an abnormally dangerous

activity must “be akin to activities involving blasting and nuclear emissions, where

the risk of harm simply cannot be lessened by additional precautions and care” and


                                          -6-
 Case: 4:16-cv-01440-HEA Doc. #: 16 Filed: 01/30/17 Page: 7 of 7 PageID #: 100




dismissing the claim because it was “one of negligence, not strict liability”. Wilson

Road Development, 971 F. Supp. 2d at 917.

                                    Conclusion

       Based upon the foregoing, the Court concludes that the Motion of

Defendant to Dismiss Plaintiffs’ Complaint for Failure to State a Claim upon

which Relief can be Granted should be granted.


      Accordingly,

      IT IS HEREBY ORDERED that the Motion to Dismiss Plaintiffs’

Complaint for Failure to State a Claim upon which Relief can be Granted, [Doc. #

7] is granted.

      IT IS FURTHER ORDERED that Plaintiffs are given 14 days from the

date of this Opinion, Memorandum and Order to file an Amended Complaint.

      Dated this 30th day of January, 2017.




                                           ________________________________
                                              HENRY EDWARD AUTREY
                                           UNITED STATES DISTRICT JUDGE




                                         -7-
